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                           THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

          Plaintiff,

v.                                                      Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

          Defendant.


                       FINANCIAL INTEREST DISCLOSURE STATEMENT

          Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and

Magistrate Judges to evaluate possible disqualifications or recusal, the undersigned counsel for

National Maritime Museum in the above captioned action, certifies that there are no parents,

trusts, subsidiaries and/or affiliates of said party that have issued shares or debt securities to the

public.

                                                NATIONAL MARITIME MUSEUM

                                                By: /s/ Edward J. Powers
                                                          Of Counsel


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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



                                                  /s/ Edward J. Powers

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